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1                 LIST OF CREDITORS/CLAIMS WITH UNCLAIMED DIVIDEND(S)

2     CHECK                                                                     AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                    DIVIDEND
3
      40342       State of Ohio                                                        25.75
4                 Regional Income Tax Agency
                  Attn: Legal Department, Post Office Box 470537
5                 Broadview Heights, OH 44147

6     40369       Illlinois Department of Revenue                                     213.34
                  Richard Dziedzic, Revenue Tax Specialist, 100 West Randolph
7                 Street, No. 7-400
                  Chicago, IL 60601
8     40456       Capital Tax Collection Bureau                                       428.37
                  2301 North Third Street
9                 Harrisburg, PA 17110

10    40629       Marma Group LLC                                                   10,950.00
                  351 Metlars Lane
11                Piscataway, NJ 08854
      40631       Techies, Inc.                                                     10,950.00
12                450 Second Street
                  Hoboken, NJ 07030
13
      40632       The Garden Inc                                                     1,394.41
14                1124 Queen Street East
                  Toronto, ON M4M 1K8 Canada,
15    40642       Cablecam LLC                                                       2,183.97
                  6120 Yale Avenue, Second Floor
16                Tulsa, OK 74136

17    40644       Real Time Recovery, Inc.                                           7,249.20
                  Post Office Box 201509
18                Austin, TX 78720-1509
      40647       Nexcade Systems, Inc.                                             10,950.00
19                15202 Rousseau Lane
                  La Mirada, CA 90638
20
      40649       Technology Professionals Exchange, Inc.                           24,276.78
21                425 East Taylor Street
                  Reno, NV 89502
22    40653       RC3, Inc.                                                         10,950.00
                  Post Office Box 93931
23                Chromo, CO 81128

24    40685       Rapid Application Deployment, Inc.                                 7,640.00
                  Attn: Derrick Woodruff, 414 North Crown Hill Road
25                Orrville, OH 44667
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1     CHECK                                                                AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                               DIVIDEND
2
      40714       Cablecam LLC                                                  2,271.48
3                 Claimant:
                  Blake I. Chapman, 6120 South Yale Avenue, Second Floor
4                 Tulsa, OK 74136
      40715       Cablecam LLC                                                  4,269.88
5
                  Claimant:
                  Justin Sommer, 6120 South Yale Avenue, Second Floor
6
                  Tulsa, OK 74136
7     40721       Green Tea Films, Inc.                                            801.94
                  Claimant:
8                 Raymond L. Lowe III, 3695 Avocado Avenue
                  Miami, FL 33133
9
      40725       R3 Health Partners                                           43,800.00
                  720 North Santiago Street
10
                  Santa Ana, CA 92701
11    40814       Subliminal Pictures Inc                                       3,318.29
                  4210 Warner Boulevard
12                Burbank, CA 91505
      40860       IEBSC INC                                                    10,950.00
13
                  459 Northgate Court
                  Riverside, IL 60546
14
      40865       Smother Productions LLC                                       4,277.95
15                c/o Inferno, 1888 Century Park East, Suite 1180
                  Century City, CA 90067
16
      40866       Hachiko Productions LLC                                      11,041.98
                  c/o Inferno, 1888 Century Park East, Suite 1180
17
                  Century City, CA 90067
18    40870       Horizon Staffing Services                                    10,950.00
                  1169 Main Street, Suite 350
19                East Hartford, CT 06108
      40889       Domani Consulting Inc.                                       10,950.00
20
                  Post Office Box 24029
                  Edina, MN 55424
21
      40894       Maruska Associates Inc.                                       4,183.17
22                9599 Laforet Drive
                  Eden Prairie, MN 55347
23
      41187       Geniko, Inc.                                                  1,844.76
                  23 Boxwood Road
24
                  Piscataway, NJ 08854
25
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1     CHECK                                                             AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                            DIVIDEND
2
      41203       Marma Group LLC                                                  241.23
3                 351 Metlars Lane
                  Piscataway, NJ 08854
4
      41204       Samaras Check Cashing Corp                                       272.20
                  175 Valley Street
5
                  Sleepy Hollow, NY 10591
6     41206       Nursefinders, Inc.                                               939.80
                  1200 East Copeland Road, Suite 200
7                 Arlington, TX 76011
      41207       The Walsh Associates                                        13,805.92
8
                  31 West 34th Street, 7th Floor
                  New York, NY 10001
9
      41214       Melissa Mitchell                                                  22.55
10                1834 Patricia Street
                  Oxnard, CA 93030
11
      41217       Altar Boyz Chicago LLC                                       6,784.88
                  1674 Broadway, Suite 300
12
                  New York, NY 10019
13    41218       Techies, Inc.                                                    123.14
                  450 Second Street
14                Hoboken, NJ 07030
      41234       Cablecam LLC                                                 2,863.81
15
                  6120 South Yale Avenue, Second Floor
                  Tulsa, OK 74136
16
      41248       IHeadHunt CC, Inc.                                          10,622.23
17                200 South Central Avenue, Suite 2000
                  Oviedo, FL 32765
18
      41272       Advanced Staffing, Inc.                                          545.69
                  44 Reads Way
19
                  New Castle, DE 19720
20    41276       Purple Monkey Productions LLC                                    477.30
                  c/o HBO
21                108 Fifth Avenue, No. 19B
                  New York, NY 10011
22
      41278       Roy O. Stephens DDS, Inc.                                        240.43
23                7808 El Cajon Boulevard, Suite C
                  La Mesa, CA 91942
24    41283       Supreme Ceiling & Partition                                      223.38
                  3925 Industrial Drive
25                Rochester Hills, MI 48309
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1     CHECK                                                                 AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                DIVIDEND
2
      41296       Technology Staffing Resources, Inc.                            1,889.07
3                 113 McHenry Road, Suite 263
                  Buffalo Grove, IL 60089
4
      41298       Stratacom                                                        895.17
                  One Marconi, Suite F
5
                  Irvine, CA 92618-2560
6     41307       Nexcade Systems, Inc.                                          1,713.93
                  16725 Yukon Avenue, Apt. 11
7                 Torrance, CA 90504
      41314       Corpus, Inc.                                                   3,071.45
8
                  8700 Freeport Parkway, Suite 250
                  Irving, TX 75063
9
      41315       Corpus, Inc.                                                   1,822.54
10                8700 Freeport Parkway, Suite 250
                  Irving, TX 75063
11
      41323       Gospel Hill Productions, Inc.                                     19.09
                  8228 Sunset Boulevard
12
                  Los Angeles, CA 90046
13    41328       AccuData, Inc.                                                 1,441.07
                  Attn: Deidre Grover, 29755 Private Road 99
14                Ramah, CO 80832
      41339       IBase of Dallas, LLC                                           2,437.14
15
                  14643 Dallas Parkway, Suite 900
                  Dallas, TX 75254
16
      41352       Diamond Management & Technology Consultants NA, Inc.          18,319.57
17                875 North Michigan Avenue, Suite 3000
                  Chicago, IL 60611
18
      41357       BDG Entertainment, Inc.                                        1,431.91
                  Post Office Box 98014, Vancouver, BC
19
                  V6Z 2Z7 Canada,
20    41361       Interpros Consulting                                             534.89
                  204 Second Avenue
21                Waltham, MA 02451
      41365       RC3, Inc.                                                      1,595.01
22
                  Post Office Box 93
                  Chromo, CO 81128
23
      41439       October 20, LLC                                                  699.97
24                c/o Gigantic Pictures, 500 Greenwich Street, Suite 501C
                  New York, NY 10013
25
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1     CHECK                                                             AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                            DIVIDEND
2
      41440       Logic Trends, Inc.                                               165.53
3                 500 Colonial Center Parkway
                  Roswell, GA 30076
4
      41446       Code X, Inc.                                                15,928.70
                  501 East Franklin Street, Suite 300
5
                  Richmond, VA 23219
6     41457       International Solutions Group, Inc.                          1,898.71
                  1110 Elden Street, Suite 201
7                 Herndon, VA 20170
      41462       The Matlen Silver Group Inc                                  1,607.24
8
                  400 Somerset Corporate Boulevard, Suite 500
                  Bridgewater, NJ 08807
9
      41472       Escoe Bliss Comm Inc dba Escoe Bliss Prof Staffing               575.81
10                16520 Bake Parkway, Suite 155
                  Irvine, CA 92618
11
      41475       CadenceQuest Inc                                             3,629.79
                  12007 Sunrise Valley Drive, Suite 420
12
                  Reston, VA 20191
13    41484       Donna D. Davidoff, MD, SC                                          8.95
                  2323 North Lake Drive
14                Milwaukee, WI 53211
      41486       Varyan Consulting, Inc.                                      1,100.75
15
                  5980 Pioneer Road South
                  St. Paul Park, MN 55071
16
      41505       Columbus Technologies & Services                                 680.80
17                225 South Lake Avenue, Suite 1010
                  Pasadena, CA 91101
18
      41512       Software Resources, Inc.                                     2,282.65
                  2180 West State Road 434, Suite 6136
19
                  Longwood, FL 32779
20    41524       2RB Corporation                                                   28.52
                  dba Superior Plantscapes
21                1433 West 139th Street
                  Gardena, CA 90249
22
      41526       Quantum Consulting & Placement                              11,818.92
23                2001 Addison Street
                  Berkeley, CA 94704
24    41528       Chilili, Inc.                                                1,437.77
                  711 South Carson Street, Suite 4
25                Carson City, NV 89701
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1     CHECK                                                                        AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                       DIVIDEND
2
      41533       Dark Streets                                                           711.36
3                 Attn: Melitta Fitzer, 1040 North Las Palmas Avenue, Building 5
                  Los Angeles, CA 90038
4
      41535       Middle March Films                                                    1,145.53
                  132 West 21st Street, 6th Floor
5
                  New York, NY 10011
6     41545       R3 Health Partners                                                    7,022.17
                  Rae Kligys, 12307 Exbury Street
7                 Herndon, VA 20170
      41561       HR Staffing LLC                                                       4,117.99
8
                  2901 SW Burlingame Road
                  Topeka, KS 66611
9
      41564       Reliance Systems, Inc.                                                4,082.77
10                445 Washington Street
                  Wellesley, MA 02482
11
      41570       Trainer2Go Inc                                                        1,598.26
                  10 Dapplegray Lane
12
                  Rolling Hills Estates, CA 90274
13    41583       The Natchez Group, Inc.                                               2,247.71
                  3685 Mt. Diablo Boulevard
14                Lafayette, CA 94549
      41596       Counseling Services of Tri Cities                                      274.93
15
                  5219 West Clearwater Avenue, Suite 13
                  Kennewick, WA 99336
16
      41612       Reel Transit Productions LLC                                         17,988.27
17                Attn: Susan Tregub, Esq., 2121 Avenue of the Stars
                  Los Angeles, CA 90067
18
      41618       Pathway Medical Staffing Inc                                           545.95
                  180 Tamarack Circle
19
                  Skillman, NJ 08558
20    41619       Pathway Medical Staffing Inc                                           448.63
                  180 Tamarack Circle
21                Skillman, NJ 08558
      41622       TAC Worldwide Companies                                               1,269.79
22
                  Technical Aid Crystal
23                888 Washington Street, 888 Washington St
                  Dedham, MA 02026
24    41626       Temps R Us                                                            1,839.19
                  201 South Lakeline, Suite 803
25                Cedar Park, TX 78613
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1     CHECK                                                                   AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                  DIVIDEND
2
      41627       Temps R Us                                                       2,999.99
3                 201 South Lakeline, Suite 803
                  Cedar Park, TX 78613
4
      41633       Trinite Inc.                                                    13,251.65
                  4340 Stevens Creek Boulevard, Suite 284
5
                  San Jose, CA 95129
6     41641       Ciber Inc.                                                      11,940.63
                  C Slocum/Klehr Harrison Harvey Branzburg, 457 Haddonfield
7                 Road, Suite 510
                  Cherry Hill, NJ 08002
8
      41650       Trever A Schapers                                                  80.84
                  6180 56th Street 1st
9
                  Maspeth, NY 11378
10    41659       Philip Barry Sigismondi                                              9.59
                  2336 Hitchcock Drive
11                Alhambra, CA 91803
      41665       Kelly Services Inc                                               3,248.87
12
                  Gail Cohen, Esq.
                  Legal Department, 999 West Big Beaver Road
13
                  Troy, MI 48084
14    41666       Kelly Services Inc                                               2,296.07
                  Gail Cohen, Esq.
15                Legal Department, 999 West Big Beaver Road
                  Troy, MI 48084
16
      41668       Interface Design & Development LLC                               1,920.19
                  4722 East Sandra Ter Road
17
                  Phoenix, AZ 85032-3440
18    41681       Adea Solutions                                                  11,112.38
                  545 East John W. Carpenter Freeway, Suite 800
19                Irving, TX 75062
      41683       IEBSC INC                                                        1,164.08
20
                  459 Northgate Court
                  Riverside, IL 60546
21
      41691       Perfomance Services Inc.                                         4,451.59
22                11030 Arrow Route, Suite 201
                  Rancho Cucamonga, CA 91730
23
      41692       Finesse Personnel Associates                                     6,863.13
                  11243 Tigrina Avenue
24
                  Whittier, CA 90603
25
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1     CHECK                                                             AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                            DIVIDEND
2
      41693       The Women Productions LLC                                   19,388.49
3                 1888 Century Park East, Suite 1180
                  Century City, CA 90067
4
      41694       Hachiko Productions LLC                                     10,094.08
                  9595 Wilshire Boulevard, Suite 900
5
                  Beverly Hills, CA 90012
6     41707       Lee Magee                                                    8,023.45
                  131 Continental Drive, Suite 301
7                 Newark, DE 19713
      41712       Horizon Staffing Services                                        158.78
8
                  1169 Main Street, Suite 350
                  East Hartford, CT 06108
9
      41724       Goel Enterprises Inc.                                        1,892.52
10                21 Tanglewood Road
                  Scarsdale, NY 10583
11
      41725       Animals LLC                                                  6,305.51
                  1000 West 2610 South
12
                  Salt Lake City, UT 84119
13    41727       Charity Self                                                      38.18
                  10114 Mosby Woods Drive
14                Fairfax, VA 22030
      41728       Keystone Computer Associates Inc.                                705.28
15
                  1055 Virginia Drive
                  Fort Washington, PA 19034
16
      41736       RAD Solutions Inc                                            2,443.72
17                4115 Boyar Avenue
                  Long Beach, CA 90807
18
      41737       Domani Consulting Inc.                                           278.99
                  Post Office Box 24029
19
                  Edina, MN 55424
20    41752       Media 8 Entertainment (Happy Noodle)                         1,310.03
                  1689 Morning Sun Lane
21                Naples, FL 34119
      41756       Richard Goepel                                                   550.30
22
                  Post Office Box 694
                  Walnut, CA 91788-0694
23
      41766       Fireflies in the Garden, Inc.                                6,211.56
24                11601 Wilshire Boulevard, Suite 2150
                  Los Angeles, CA 90025
25
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1     CHECK                                                                       AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                      DIVIDEND
2
      41767       Informers, Inc.                                                     12,632.34
3                 145 Bay Street, Suite 17
                  Santa Monica, CA 90405
4
      41770       WT Fudge LLC                                                         1,336.45
                  c/o Frankfurt Garbus Attn: C Myler, 485 Madison Avenue, Suite
5
                  1300
                  New York, NY 10022
6
      41774       In Bloom LLC                                                         6,122.35
7                 Attn: Jessica Roddy, 9100 Wilshire Boulevard, Suite 500W
                  Beverly Hills, CA 90212
8
      41775       WJH Productions LLC                                                  5,013.69
                  76 Progress Drive, Suite 2
9
                  Stamford, CT 06902
10    41776       MIH LLC                                                              4,075.89
                  Attn: Alison Asaro, Formosa Building, Suite 106
11                West Hollywood, CA 90046
      41777       MIH Manitoba Inc                                                     4,582.74
12
                  Attn: Alison Asaro, Formosa Building, Suite 106
                  West Hollywood, CA 90046
13
      41778       Two Lovers LLC                                                      78,442.14
14                Attn: Jessica Roddy, 9100 Wilshire Boulevard, Suite 500 West
                  Beverly Hills, CA 90212
15
      41779       The Burning Plain LLC                                               48,309.56
                  Attn: Jessica Roddy, 9100 Wilshire Boulevard, Suite 500 West
16
                  Beverly Hills, CA 90212
17    41780       The Road Productions LLC                                              608.14
                  Attn: Jessica Roddy, 9100 Wilshire Boulevard, Suite 500 West
18                Beverly Hills, CA 90212
      41801       D War LLC                                                           28,638.13
19
                  1930 Wilshire Boulevard, Suite 803
                  Los Angeles, CA 90057
20
      41802       Milk Productions LLC                                                10,818.16
21                10900 Wilshire Boulevard, Suite 1400
                  Los Angeles, CA 90024
22
      41829       P-Five, Inc.                                                         8,036.91
                  1300 Fairmont Street, NW
23
                  Washington, DC 20009
24    41830       Webstaff LLC                                                         5,376.70
                  1333 H Street NW
25                Washington, DC 20005
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1     CHECK                                                                        AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                       DIVIDEND
2
      41849       Placement Strategies Inc                                             11,133.40
3                 Gordon & Rees LLP, 275 Battery Street, Suite 2000
                  San Francisco, CA 94111
4
      41850       Residential Funding Corporation                                      16,994.79
                  Attn: Brian Pesola, 200 Renaissance Ctr,MailCode:482-B13-
5
                  B98
                  Detroit, MI 48265
6
      41940       Honeyshed LLC                                                         2,768.35
7                 Attn: Jeff Davidson, 400 Lafayette Street, Fifth Floor
                  New York, NY 10003
8
      41950       RDF Media, Inc.                                                       5,727.63
                  225 Santa Monica Boulevard, Fifth Floor
9
                  Santa Monica, CA 90401
10    41953       Eagle Beach Productions                                                489.76
                  150 Union Street, Apt. 610
11                Providence, RI 02903
      41956       BSF Film                                                               209.99
12
                  622 San Juan Avenue
                  Venice, CA 90291
13
      41958       Implemo Systems                                                       2,548.56
14                1381 McCarthy Boulevard
                  Milpitas, CA 95035
15
      41962       Bubble Group LLC                                                       213.73
                  1450 Broadway, 40th Floor
16
                  New York, NY 10018
17    41973       J Estel Griffin Consulting                                             470.97
                  1226 Hayvenhurst Drive, Suite 8
18                Los Angeles, CA 90046-4959
      41994       Five Dollars Productions LLC                                           763.68
19
                  Attn: Susan Tregub, Esq., 2121 Avenue of the Stars, Suite 3000
                  Los Angeles, CA 90067
20
      41996       Last Resort LLC                                                       1,335.86
21                7966 Beverly Boulevard
                  Los Angeles, CA 90048
22
      41997       College Productions LLC                                               3,497.30
                  668 Distributors Row, Suite D
23
                  Harahan, LA 70123
24    42006       Incited Media LLC                                                     2,453.05
                  4311 Wilshire Boulevard, Suite 618
25                Los Angeles, CA 90010
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1     CHECK                                                                   AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                  DIVIDEND
2
      42007       College Productions LLC                                          1,690.90
3                 668 Distributors Row, Suite D
                  Harahan, LA 70123
4
      42010       Return Productions Inc.                                          6,133.84
                  c/o QED
5
                  Paul Hanson, 9595 Wilshire Boulevard, Suite 800
                  Beverly Hills, CA 90212
6
      42012       Pegasoft Corp.                                                    763.68
7                 21 Columbus Avenue, Suite 200
                  San Francisco, CA 94111
8
      42014       Hamsund Consulting Inc.                                          1,259.98
                  Attn: Michael Hamsund, 3109 West 135th Circle
9
                  Burnsville, MN 55337
10    42021       Six Wives LLC                                                    1,722.58
                  5870 Abernathy Drive
11                Los Angeles, CA 90045
      42031       Judith Grafe                                                        6.10
12
                  4267 Marina City Drive, No. 708
                  Marina Del Rey, CA 90292
13
      42075       Parity Resources LTD                                              776.28
14                Vantage Point
                  23 Mark Road, Hemel Hempstead Herts
15                UK HP2 7DN England,

16    42087       El Camino Systems Inc                                            1,230.24
                  dba Clinical Systems Resource Group
17                R. DePhillips/Milberg & DePhillips, P.C., 2163 Newcastle
                  Avenue, Suite 200
18                Cardiff-by-the-Sea, CA 92007
      42143       Pay O Matic Check Cashing Corp                                     56.26
19
                  Post Office Box 61
                  Ardsley, NY 10502
20
      42150       Systematic Technical Services Inc                                1,431.91
21                13110 Park Crescent Circle
                  Herndon, VA 20171
22
      42187       Clarity Resource Group                                           1,909.21
                  Ervin Cohen & Jessup, LLP, 9401 Wilshire Boulevard, Ninth
23
                  Floor
                  Beverly Hills, CA 90212
24

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1     CHECK                                                                      AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                                     DIVIDEND
2
      42209       Progressive Software Computing, Inc.                                2,208.43
3                 Diane C. Stanfield/Alston & Bird LLP, 333 South Hope Street,
                  16th Floor
4                 Los Angeles, CA 90071
      42210       Progressive Software Computing, Inc                                  954.60
5
                  Diane C. Stanfield/Alston & Bird LLP, 333 South Hope Street,
                  16th Floor
6
                  Los Angeles, CA 90071
7     42262       Eric J Koziatek                                                      757.62
                  11509 Venice Boulevard, Apt. 6
8                 Los Angeles, CA 90066
      42269       RI Labor & Training Dept, RI Emplymt & Training Fund                1,502.01
9
                  1511 Pontiac Avenue
                  Cranston, RI 02920-4407
10
      42277       Contech Systems Inc                                                36,748.05
11                c/o Allan B. Mendelsohn, Esq., 38 New Street
                  Huntington, NY 11743-3463
12
      80119       Foluke Ashola                                                        242.58
13                3801 Great Oak Drive, No. 2619
                  Euless, TX 76040
14    80140       Margo Berger                                                        2,266.26
                  131 Bell Canyon Road
15
                  Bell Canyon, CA 91307
16    80155       Marquita Brass                                                      1,010.25
                  7438 Oakwood Canyon Drive
17
                  Cypress, TX 77433
18    80166       Linda Bushong                                                        219.22
                  22239 Woodside Drive
19                Bristol, IN 46507
      80198       Kendra Clark                                                         181.02
20
                  850 Emerald Drive
21                New Kensington, PA 15068
      80208       Neva M Cozine                                                        187.05
22                4045 Grebe Street
23                Omaha, NE 68112
      80265       Margaret Ferrens                                                    2,039.77
24                377 Vernon Street, Unit A
                  Oakland, CA 94610
25
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1     CHECK                                                            AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                           DIVIDEND
2
      80272       Seldon Foote                                                1,532.16
3                 16737 US 12 East
                  Union, MI 49130
4
      80275       Robert Foster                                                   505.08
5                 55 Amador Village Circle, Unit No. 17
                  Hayward, CA 94544
6
      80285       Sandra Garcia                                                   310.34
7                 24979 Constitution Avenue, Apt. 1
                  Stevenson Ranch, CA 91381
8     80297       Richard Goepel                                              6,145.13
                  Post Office Box 694
9
                  Walnut, CA 91788-0694
10    80301       Andrew Gonzalez                                                 436.05
                  1525 Wesley Avenue
11                Pasadena, CA 91104
12    80334       Trevor W Hobbs                                              3,347.15
                  Post Office Box 2892
13                Mammoth Lakes, CA 93546
      80340       Patricia Huang                                                   37.04
14
                  2720 East Sylvia Street
15                Phoenix, AZ 85032
      80352       Deborah Jackson                                                 558.24
16                6020 Angora Terrace
17                Philadelphia, PA 19143
      80426       Rafael J Luna                                                   189.83
18                5151 Ellenwood Drive
                  Los Angeles, CA 90041
19
      80430       Lee Magee                                                   6,145.13
20                380 North Catalina Avenue, Apt. 6
                  Pasadena, CA 91106
21    80486       Scott Myers                                                     919.22
22                1900 Ascot Parkway, No. 1213
                  Vallejo, CA 94591
23    80519       Horace Payne                                                1,558.75
                  116 Graymoor Lane
24
                  Olympia Fields, IL 60461
25
     Case 2:08-bk-10277-BB    Doc 3094 Filed 01/14/16 Entered 01/14/16 16:36:14    Desc
                               Main Document    Page 15 of 15


1     CHECK                                                             AMOUNT OF
      NUMBER      NAME & ADDRESS OF CLAIMANTS                            DIVIDEND
2
      80524       Rebecca Perron                                                  763.21
3                 2407 Wynfield Court
                  Frederick, MD 21702
4
      80548       Diane Jean Ramirez                                              417.57
5                 1101 Dumont Boulevard, Apt. 40
                  Las Vegas, NV 89169
6
      80571       Aekruthai Roongcharoen                                          325.50
7                 14543 San Dieguito Drive
                  La Mirada, CA 90638
8     80583       Vatin Rutanarungsi                                              103.82
                  11630 1/2 Artesia Boulevard
9
                  Artesia, CA, 90701
10    80605       Charity Self                                                    431.20
                  10114 Mosby Woods Drive
11                Fairfax, VA 22030
12    80619       Roger Slack                                                      51.63
                  203 Crestwood Lane
13                Edenton, NC 27932
      80625       Diane Smythers                                                  538.75
14
                  316 Date Street
15                Lake Elsinore, CA 92530
      80684       David Warshofsky                                            2,977.73
16                289 South Robertson Boulevard, No. 531
17                Beverly Hills, CA 90211
      80703       Catharina Wilstermann                                           320.37
18                4701 All Points View Way
                  Raleigh, NC 27614
19
      80710       Mario Yanas                                                      11.15
20                1121 Scenic Drive
                  Colton, CA 92324
21
                                                               Total:      $825,624.39
22
     AXIUM INTERNATIONAL, INC.
23   2:08-BK-10277 BB

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